  Case 5:07-cr-00017-DCB-FKB      Document 419     Filed 02/24/15    Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION


UNITED STATES                                                          PLAINTIFF


VS.                            CRIMINAL ACTION NO: 5:07-cr-17-DCB-FKB
                                      CIVIL ACTION NO: 5:15-cv-15-DCB


CHARLES EDWARD PRICE                                                   DEFENDANT

                             ORDER DENYING COA

       Rule 11(a) of the rules governing §§ 2254 and 2255 cases

requires the district court to issue or deny a certificate of

appealability    when   it   enters    a   final    order     adverse      to   the

Petitioner.    Having reviewed the record, applicable statutory and

case law, and being otherwise fully advised in the premises, the

Court finds and orders as follows:

       Pursuant to Federal Rule of Appellate Procedure 22(b), Rule

11(a) of the Rules Governing §§ 2254 and 2255 proceedings, and 28

U.S.C. § 2253(c), the Court finds that the petitioner has failed to

show    (1)   that   reasonable    jurists       would   find       this   Court’s

“assessment of the constitutional claims debatable or wrong,” or

(2) that reasonable jurists would find “it debatable whether the

petition states a valid claim of the denial of a constitutional

right” and “debatable whether [this Court] was correct in its




                                      1
  Case 5:07-cr-00017-DCB-FKB   Document 419   Filed 02/24/15   Page 2 of 2



procedural ruling.”   Slack v. McDaniel, 529 U.S. 473, 484 (2000).1

The Court therefore denies a certificate of appealability.

     IT IS, THEREFORE, ORDERED AND ADJUDGED that a certificate of

appealability is DENIED.

     SO ORDERED AND ADJUDGED, this the 23rd day of February 2015.


                                        /s/ David Bramlette
                                       UNITED STATES DISTRICT JUDGE




     1
       Rule 11 of the Rules Governing §§ 2254 and 2255 Cases, as
amended effective on December 1, 2009, reads as follows:

     (a) Certificate of Appealability. The district court
     must issue or deny a certificate of appealability when
     it enters a final order adverse to the applicant.
     Before entering the final order, the court may direct
     the parties to submit arguments on whether a
     certificate should issue. If the court issues a
     certificate, the court must state the specific issue or
     issues that satisfy the showing required by 28 U.S.C. §
     2253(c)(2). If the court denies a certificate, the
     parties may not appeal the denial but may seek a
     certificate from the court of appeals under Federal
     Rule of Appellate Procedure 22. A motion to reconsider
     a denial does not extend the time to appeal.

     (b) Time to Appeal. Federal Rule of Appellate
     Procedure 4(a) governs the time to appeal an order
     entered under these rules. A timely notice of appeal
     must be filed even if the district court issues a
     certificate of appealability.



                                   2
